          Case 1:17-cv-00145-CW-BCW Document 6 Filed 12/08/17 Page 1 of 5




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Attorney for Defendants

       IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH

                                    NORTHERN DIVISION


 ESTATE OF MARION HERRERA,                                DEFENDANTS’ ANSWER
                                                             TO COMPLAINT
                Plaintiff,
                                                 Case No. 1:17-cv-00145
          v.
                                                 Judge: Clark Waddoups
 WEBER COUNTY, and TERRY
                                                 Magistrate Judge: Brooke C. Wells
 THOMPSON in his official capacity,

                Defendants.


       Defendants, through their attorney, Frank D. Mylar, respectfully answer the allegations in

Plaintiffs’ Complaint (Doc. No. 2) as follows:

       All allegations are deemed DENIED except as expressly admitted below. The below

paragraphs correspond with the numbered paragraphs of Plaintiffs’ Complaint.

                               PRELIMINARY STATEMENT

       Defendants deny any wrongdoing alleged in Plaintiff’s Preliminary Statement.

                               JURISDICTION AND VENUE

       1.      Admit that this matter arises from the United States Constitution and 42 U.S.C.

§ 1983.
        Case 1:17-cv-00145-CW-BCW Document 6 Filed 12/08/17 Page 2 of 5




        2.    Admit that jurisdiction is proper.

        3.    Admit that venue is proper.

        4.    Deny for lack of knowledge.

        5.    Admit costs and fees may only be awarded to the “prevailing party.”

        6.    Deny that Plaintiff has brought any State law claims.

        7.    Deny.

        8.    Deny.

                                            PARTIES

        9.    Deny for lack of knowledge.

        10.   Deny for lack of knowledge.

        11.   Deny.

        12.   Deny because Weber County is a political subdivision of the state of Utah.

However, Weber County does operate the Weber County Jail.

        13.   Admit that Terry Thompson is the duly elected Sheriff of Weber County and is the

final policymaker for Weber County with regards to law enforcement and Jail administration.

                                            FACTS

        14.   Defendants repeat their answers from paragraphs 1 through 13.

        15.   Admit that Marion Herrera was booked into the Weber County Jail around this

time.

        16.   Admit Marion Herrera was moved to the medical unit and a medical cell.

        17.   Deny.

        18.   Deny for lack of knowledge.



                                                   2
Case 1:17-cv-00145-CW-BCW Document 6 Filed 12/08/17 Page 3 of 5




19.   Deny for lack of knowledge.

20.   Admit that Jail staff saw Herrera awake at 11:30 p.m. on May 21, 2016.

21.   Admit that Jail staff visually checked Herrera 1:30 a.m. on May 22, 2016.

22.   Deny.

23.   Deny.

24.   Deny.

25.   Deny for lack of knowledge.

26.   Deny for lack of knowledge.

27.   Deny.

28.   Deny.

                                  COUNT I

29.   Defendants repeat their answers from paragraphs 1 through 28.

30.   Deny.

31.   Deny.

32.   Deny.

33.   Deny.

34.   Deny.

35.   Deny.

                                 COUNT II

36.   Defendants repeat their answers from paragraphs 1 through 35.

37.   Deny.

38.   Deny.



                                      3
       Case 1:17-cv-00145-CW-BCW Document 6 Filed 12/08/17 Page 4 of 5




       39.     Deny.

       40.     Deny.

       41.     Deny.

       42.     Deny.

       43.     Deny.

       44.     Deny.

                                     PRAYER FOR RELIEF

       Deny that Plaintiff is entitled to any of his requested relief.

                              FIRST AFFIRMATIVE DEFENSE

       Plaintiff’s claims for special and/or punitive damages are unconstitutional as a violation of

the Fourteenth Amendment of the United States Constitution.

                             SECOND AFFIRMATIVE DEFENSE

        Plaintiff’s Complaint fails to state a claim for which relief can be granted in that it has

failed to specify a violation of federal law that is cognizable under 42 U.S.C. § 1983.

                              THIRD AFFIRMATIVE DEFENSE

       Plaintiff’s claims for damages are speculative, conclusory, and not supported by sufficient

factual allegations and as such should be dismissed.

                             FOURTH AFFIRMATIVE DEFENSE

       Plaintiff cannot bring both an Eighth and a Fourteenth Amendment claim for jail conditions

of confinement. If he was a convicted prisoner, the Eighth applies. If he was a pre-trial detainee

awaiting trial, then the Fourteenth Amendment applies.




                                                  4
        Case 1:17-cv-00145-CW-BCW Document 6 Filed 12/08/17 Page 5 of 5




                                FIFTH AFFIRMATIVE DEFENSE

        Decedent Marion Herrera failed to exhaust all of her available administrative remedies as

required by the Prison Litigation Reform Act, 42 U.S.C. § 1997e, and for this reason the Complaint

must be dismissed. Specifically, the Jail has a thorough grievance policy and practice to assert

complaints and grievances of all kinds. In addition, any claim for emotional distress must be

dismissed based upon the provisions of the PLRA.

        WHEREFORE: All Plaintiff’s claims should be dismissed, and Plaintiff should be

ordered to pay Defendants’ attorney fees and costs under 42 U.S.C. § 1988. Defendant demands

a trial by jury on all issues that proceed to trial.

        Dated this 8th day of December, 2017.

                                                           /s/ Frank D. Mylar

                                                           Frank D. Mylar
                                                           Attorney for Defendants




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